23-10164-smr Doc#135 Filed 06/16/23 Entered 06/16/23 08:30:43 Main Document Pg 1 of
                                         7



  UNITED STATES DEPARTMENT OF JUSTICE
  OFFICE OF THE UNITED STATES TRUSTEE
  KEVIN M. EPSTEIN
  UNITED STATES TRUSTEE
  GARY WRIGHT
  ASSISTANT UNITED STATES TRUSTEE
  SHANE P. TOBIN
  TRIAL ATTORNEY
  903 SAN JACINTO BLVD., ROOM 230
  AUSTIN, TX 78701
  Telephone: (512) 916-5348
  Fax: (512) 916-5331

                           UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

  IN RE:                                           §
                                                   §
  ASTRALABS, INC.,                                 §            CASE NO. 23-10164-SMR
                                                   §
  DEBTOR.                                          §            CHAPTER 11

   OBJECTION OF THE UNITED STATES TRUSTEE TO MOTION TO RECONSIDER
           ORDER CONVERTING CASE TO ONE UNDER CHAPTER 7

  TO THE HONORABLE SHAD M. ROBINSON,
  UNITED STATES BANKRUPTCY JUDGE:

         KEVIN M. EPSTEIN, THE UNITED STATES TRUSTEE for Region 7 (the U.S. Trustee),

  hereby objects to the Motion to Reconsider Order Converting Case to One Under Chapter 7

  (Motion to Reconsider) [Dkt. # 119] filed by creditors Thomas Dolezal, Matthew Kelly, Casey

  Melcher, and Hasan Ugur Koyluoglu (collectively, Movants). The Movants did not meet the

  standards for reconsideration under the Bankruptcy Code, Bankruptcy Rules, or case law. The U.S.

  Trustee requests that the Court deny the Motion to Reconsider without further notice or hearing as

  authorized under L. Rule 9014(d) so that the Chapter 7 Trustee can proceed with administering

  this case. In support of this objection, the U.S. Trustee respectfully shows the Court the following:




                                                   1
23-10164-smr Doc#135 Filed 06/16/23 Entered 06/16/23 08:30:43 Main Document Pg 2 of
                                         7



                                          BACKGROUND

         1.      On May 10, 2023, the U.S. Trustee filed a Motion to Convert Case to a Case Under

  Chapter 7, or, in the Alternative, Dismiss Case (Motion to Convert) at docket # 83. Also on May

  10, 2023, the U.S. Trustee filed a Motion to Expedite Hearing on the Motion to Convert at docket

  # 84. The U.S. Trustee provided adequate notice of both motions as required by the local rules.

  That same day, the Court set an expedited hearing on the Motion to Convert for May 11, 2023, at

  1:30 p.m., the same time as the already-scheduled Subchapter V status hearing. On May 11, 2023,

  the U.S. Trustee filed a notice of expedited hearing at docket # 87 (Notice of Hearing) and provided

  notice of the expedited hearing as required by the applicable local rules.

         2.      On May 11, 2023, at 1:30 p.m., the Court held a hearing on the Motion to Convert

  (Conversion Hearing). At the Conversion Hearing, the Court heard argument from the U.S.

  Trustee, the Subchapter V Trustee, the Debtor, and at least one creditor. The Court also heard

  testimony from Andrew Ryan (Ryan), the CEO of Debtor, who was examined by the U.S. Trustee,

  the Subchapter V Trustee, the Debtor, and at least one creditor. The Conversion Hearing, held via

  Webex, was attended by over 100 people. At the Conversion Hearing, the Court asked for all

  appearances, and no Movant appeared, asked questions, or made any statement.

         3.      After taking evidence, including the testimony of Ryan and taking judicial notice

  of prior motions and hearings in which Debtor sought permission to pay prepetition wages after

  having already made the payment, and hearing argument, the Court found (1) that the U.S Trustee

  established cause to convert or dismiss under 11 U.S.C. § 1112(b) and (2) that conversion was in

  the best interests of creditors and the estate, and issued an oral ruling granting the Motion to

  Convert and converting the case to one under Chapter 7.




                                                   2
23-10164-smr Doc#135 Filed 06/16/23 Entered 06/16/23 08:30:43 Main Document Pg 3 of
                                         7



         4.      In its order converting the case to one under Chapter 7, the Court found that cause

  existed to dismiss or convert the case under § 1112(b) for the reasons stated on the record during

  the hearing on May 11, 2023, including because Debtor: (1) has insufficient cash on hand and

  current revenue to pay its expenses, including payroll and related expenses, (2) lost a substantial

  number of employees, (3) dissolved the board of directors and terminated multiple executives, (4)

  incurred and paid postpetition debt without seeking court approval and in violation of the cash

  collateral order, (5) continues to raise additional funding without seeking court authority, and (6)

  deliberately omitted assets from its schedules. Dkt. # 89. The Court further found that it was in the

  best interests of creditors and the estate to convert the case to a case under Chapter 7 of Title 11

  of the United States Code. Id.

         5.      On May 18, 2023, Movants, other than Hasan Ugur Koyluoglu, filed their first

  Motion to Reconsider Order Converting Case to One Under Chapter 7 (First Motion to Reconsider)

  [Dkt. # 104] and requested an expedited hearing because otherwise “the Chapter 7 trustee will

  begin administering the assets of the estate to the detriment of the creditors.” Dkt. # 105, para.

  2.Movants withdrew the First Motion to Reconsider the same day as the expedited hearing.

         6.      On May 26, 2023, Movants filed the Motion to Reconsider, on 21-day negative

  notice. Dkt. # 119.

                                                OBJECTION

         7.      The Court should deny the Motion to Reconsider because it does not meet the

  standards under Federal Rule of Bankruptcy Procedure 9024 and Federal Rule of Civil Procedure

  60 to grant relief from an order. Movants have not established misconduct under Fed. R. Civ. P.

  60(b)(3) or excusable neglect under Fed. R. Civ. P. 60(b)(1). The Movants did not argue there was

  any technical inadequacy in the service of the Motion to Convert or Notice of Hearing, just that




                                                   3
23-10164-smr Doc#135 Filed 06/16/23 Entered 06/16/23 08:30:43 Main Document Pg 4 of
                                         7



  the timing of the notice did not provide Movants with sufficient time to appear and present their

  case. Expedited hearings are specifically authorized under L. Rule 9014 and routinely set on one-

  day notice. There was more than sufficient cause for an expedited hearing on the Motion to

  Convert, and both Debtor and the Subchapter V trustee did not oppose an expedited hearing. Dkt.

  # 84, para. 3.

          8.       Movants provide no new evidence or facts in the Motion to Reconsider that would

  warrant reconsideration, instead arguing facts this Court already heard and considered prior to

  making its ruling. Ryan testified at the Conversion Hearing on behalf of Debtor, and was examined

  by Debtor’s counsel, the U.S. Trustee, the Subchapter V trustee, and one creditor’s counsel. Debtor

  in closing argument agreed cause existed under § 1112(b) and argued that dismissal was in the

  best interest of the estate and creditors. Of the other 100 people at the hearing, no other party chose

  to examine the witness or present their case. No party was denied their right of due process as they

  could have appeared and presented their case. The Court, after considering the evidence and

  arguments, agreed with the U.S. Trustee and Subchapter V trustee that conversion was in the best

  interests of the estate and creditors. Movants may not simply relitigate issues previously raised

  because they disagree with the Court. Movants do not provide any reasons as to how an argument

  from them would change the Court’s analysis of the factors weighing conversion against dismissal.

          9.       The U.S. Trustee’s service of the Motion to Convert and Notice of Hearing was

  compliant with the applicable rules of procedure and does not constitute misconduct. Movants

  allege no new facts or new law that Debtor did not already raise at the Conversion Hearing.

  Therefore, the Movants failed to meet their burden Federal Rule of Bankruptcy Procedure 9024

  and Federal Rule of Civil Procedure 60 and the Court should deny the Motion to Reconsider.




                                                    4
23-10164-smr Doc#135 Filed 06/16/23 Entered 06/16/23 08:30:43 Main Document Pg 5 of
                                         7



         10.     The Court should also deny the Motion to Reconsider because Movants failed to

  meet the standard for reconsideration under Federal Rule of Bankruptcy Procedure 9023 as

  Movants have not established any newly discovered evidence, intervening change in controlling

  law, clear error of law, or manifest injustice that warrants reconsideration.

         11.     Movants made no argument that the Court made a mistake in converting the case.

  Movants did not provide any new facts to indicate that anything in the record was a departure from

  the truth. Instead, Movants again argue that they were not provided procedural due process, though

  they provide no evidence or argument that the U.S. Trustee’s service of the Notice of Hearing

  violated any rules or procedures.

         12.     The Court considered the totality of the evidence and argument provided at the

  Conversion Hearing, and addressed the factors and weighed the totality of the circumstances when

  it decided to convert this case to Chapter 7. Movants, unhappy with the result, just rehash evidence

  already considered by this Court and improperly challenge the way this Court conducts its docket.

  Nothing presented in the Motion to Reconsider meets the standard for reconsideration under

  Federal Rule of Bankruptcy Procedure 9023, Federal Rule of Civil Procedure 59, and Fifth Circuit

  law. Because the Movants failed to meet their burden, the Court should deny the Motion to

  Reconsider.

  III.   CONCLUSION

         For the foregoing reasons, the U.S. Trustee requests that the Court deny the Motion to

  Reconsider Order Converting Case to One Under Chapter 7 and granting such other and further

  relief as the Court deems appropriate under applicable law.




                                                    5
23-10164-smr Doc#135 Filed 06/16/23 Entered 06/16/23 08:30:43 Main Document Pg 6 of
                                         7



  Dated: June 16, 2023                KEVIN M. EPSTEIN
                                      United States Trustee Region 7
                                      Southern and Western Districts of Texas

                                      By:    /s/ Shane P. Tobin
                                             Shane P. Tobin
                                             Trial Attorney
                                             CA State Bar No. 317282
                                             903 San Jacinto Blvd., Room 230
                                             Austin, Texas 78701
                                             Telephone: (512) 916-5328
                                             Fax: (512) 916-5331
                                             Shane.P.Tobin@usdoj.gov




                                         6
23-10164-smr Doc#135 Filed 06/16/23 Entered 06/16/23 08:30:43 Main Document Pg 7 of
                                         7



                                  CERTIFICATE OF SERVICE

          I hereby certify that on June 16, 2023 a true and correct copy of the foregoing
  OBJECTION OF THE UNITED STATES TRUSTEE TO MOTION TO RECONSIDER
  ORDER CONVERTING CASE TO ONE UNDER CHAPTER 7 were served via the manner
  indicated upon the parties listed below and by electronic means for all Pacer system participants.


                                                      By: /s/ Shane P. Tobin
                                                         Shane P. Tobin
                                                         Trial Attorney

  Movants’ Counsel (via email)
  Stephen W. Sather
  Barron & Newburger, PC
  7320 N MoPac Expy, Suite 400
  Austin, TX 78731
  ssather@bn-lawyers.com

  Debtor’s Counsel (via email)
  Robert Chamless Lane
  The Lane Law Firm, PLLC
  6200 Savoy Dr, Suite 1150
  Houston, TX 77036
  chip.lane@lanelaw.com

  Debtor (via first-class mail)
  Astralabs, Inc.
  979 Springdale Road, Suite #123
  Austin, TX 78723

  Chapter 7 Trustee’s Proposed Counsel (via email)
  Jay Ong
  Munsch Hardt Kopf & Harr, P.C.
  1717 West 6th Street
  Suite 250
  Austin, TX 78703
  jong@munsch.com

  Chapter 7 Trustee (via email)
  Randolph Osherow
  342 W Woodlawn, Suite 100
  San Antonio, TX 78212
  rosherow@hotmail.com




                                                  7
